                                                                   Case 2:19-bk-24804-VZ             Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                            Desc
                                                                                                      Main Document    Page 1 of 13


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   E-mail: rpachulski@pszjlaw.com
                                                                               jdulberg@pszjlaw.com
                                                                   6           mpagay@pszjlaw.com

                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                              LOS ANGELES DIVISION

                                                                  11   In re:                                             Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                          Chapter 11
                                                                  12   YUETING JIA,1
                                                                                                                          EVIDENTIARY OBJECTIONS AND MOTION TO
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                Debtor.               STRIKE RE: DECLARATION OF DONG NI
                                           ATTORNEYS AT LAW




                                                                                                                          (DONNA) XU IN SUPPORT OF MOTION BY
                                                                  14                                                      CREDITOR SHANGHAI LAN CAI ASSET
                                                                                                                          MANAGEMENT CO., LTD. TO DISMISS THE
                                                                  15                                                      DEBTOR’S CHAPTER 11 CASE

                                                                  16                                                      Hearing:
                                                                                                                          Date:    March 19, 2020
                                                                  17                                                      Time:    9:30 a.m.
                                                                                                                          Place:   Courtroom 1368
                                                                  18                                                               Edward R. Roybal Federal Building
                                                                                                                                   255 East Temple Street
                                                                  19                                                               Los Angeles, California 90012
                                                                                                                          Judge:   Honorable Vincent P. Zurzolo
                                                                  20

                                                                  21

                                                                  22            Yueting Jia, debtor herein (the “Debtor”), by and through his attorneys, Pachulski Stang

                                                                  23   Ziehl & Jones LLP, hereby submits his evidentiary objections to the Declaration of Dong Ni

                                                                  24   (Donna) Xu in Support of Motion By Creditor Shanghai Lan Cai Asset Management Co., Ltd. to

                                                                  25   Dismiss the Debtor’s Chapter 11 Case (the “Xu Declaration”) [Docket No. 360], filed in support of

                                                                  26   the Motion By Creditor Shanghai Lan Cai Asset Management Co., Ltd. to Dismiss the Debtor’s

                                                                  27

                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing
                                                                       address is 91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                       DOCS_LA:328006.3 46353/002
                                                                   Case 2:19-bk-24804-VZ        Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                  Desc
                                                                                                 Main Document    Page 2 of 13


                                                                   1   Chapter 11 Case [Docket Nos. 358 and 359] (the “Motion”), filed by Shanghai Lan Cai Asset

                                                                   2   Management Co., Ltd. (“SLC”).

                                                                   3          In addition, the Debtor moves to strike certain portions of the Motion on the basis that they

                                                                   4   are based entirely on inadmissible statements subject to objection below.

                                                                   5
                                                                        Paragraph
                                                                   6                         Objectionable Statement                      Evidentiary Objection
                                                                         Number
                                                                   7
                                                                             ¶2        A true and correct copy of the July 6,    Objections:
                                                                   8                   2017 article by Li Yuan entitled
                                                                                       “Reality Bytes: A Highflying Chinese      Hearsay (FRE 802).
                                                                   9                   Tech Entrepreneur Falls Back to           SLC cites to this article as a source of
                                                                                       Earth” published in The Wall Street       certain alleged factual information
                                                                  10
                                                                                       Journal is attached to this Declaration   regarding the Debtor. However,
                                                                  11                   as Exhibit 1.                             statements in newspaper articles and
                                                                                                                                 other publications are almost always
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                             inadmissible hearsay. See, e.g., Larez v.
                                                                                                                                 City of Los Angeles, 946 F.2d 630, 641
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                                 (9 Cir. 1991) (statements in three
                                                                                                                                 newspapers erroneously admitted
                                                                  14
                                                                                                                                 hearsay; “As the reporters never
                                                                  15                                                             testified nor were subjected to cross-
                                                                                                                                 examination, their transcriptions of
                                                                  16                                                             Gates's statements involve a serious
                                                                                                                                 hearsay problem.”); Horta v. Sullivan, 4
                                                                  17                                                             F.2d 2 (1st Cir. 1993) (no admission of
                                                                                                                                 newspaper article where "[n]o affidavits
                                                                  18
                                                                                                                                 or depositions from the … reporters …
                                                                  19                                                             submitted to the court.");Cody v.
                                                                                                                                 Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                  20                                                             (declining to admit newspaper article
                                                                                                                                 where plaintiff failed to offer any
                                                                  21                                                             evidence related to the reporter, his
                                                                  22                                                             method of reporting, or other assurances
                                                                                                                                 of trustworthiness); McAllister v. New
                                                                  23                                                             York City Police Dep't, 49 F. Supp. 2d
                                                                                                                                 688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                  24                                                             articles are hearsay . . . and . . . are not
                                                                                                                                 admissible evidence."); Holmes v.
                                                                  25                                                             Gaynor, 313 F. Supp. 2d 345, 358
                                                                  26                                                             (S.D.N.Y. 2004) (holding newspaper
                                                                                                                                 article inadmissible on hearsay
                                                                  27                                                             grounds).

                                                                  28


                                                                                                                         2
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                Desc
                                                                                              Main Document    Page 3 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                   Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                         Relevance (FRE 402).
                                                                                                                             A 2017 article has no relevance
                                                                   4                                                         whatsoever to a Motion alleging a 2019
                                                                                                                             “bad faith” bankruptcy filing predicated
                                                                   5                                                         on (i) the timing and impact of its filing
                                                                                                                             on a putative secured creditor’s 2019
                                                                   6                                                         judgment enforcement efforts, (ii)
                                                                   7                                                         reorganization purpose relating to
                                                                                                                             Faraday Future and (iii) the interests of
                                                                   8                                                         the Debtor’s current creditors.

                                                                   9                                                         Strike: Motion, 3, ll. 2-16.
                                                                  10
                                                                                                                             The Debtor respectfully requests that
                                                                  11                                                         the Court strike the identified portions
                                                                                                                             of the Motion that correspond to the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                         referenced inadmissible evidence.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                          ¶3       A true and correct copy of the            Objections:
                                                                                   November 2, 2017 article by Daniel
                                                                  14
                                                                                   Ren, Xue Yu, and Summer Chen              Hearsay (FRE 802).
                                                                  15               entitled “Former Leshi IPO committee      SLC cites to this article as a source of
                                                                                   members detained over troubled video      certain alleged factual information
                                                                  16               content firm’s 2010 fundraising”          regarding the Debtor. However,
                                                                                   published in the South China Morning      statements in newspaper articles and
                                                                  17               Post is attached to this Declaration as   other publications are almost always
                                                                  18               Exhibit 2.                                inadmissible hearsay. See, e.g., Larez v.
                                                                                                                             City of Los Angeles, 946 F.2d 630, 641
                                                                  19                                                         (9 Cir. 1991) (statements in three
                                                                                                                             newspapers erroneously admitted
                                                                  20                                                         hearsay; “As the reporters never
                                                                                                                             testified nor were subjected to cross-
                                                                  21                                                         examination, their transcriptions of
                                                                  22                                                         Gates's statements involve a serious
                                                                                                                             hearsay problem.”); Horta v. Sullivan, 4
                                                                  23                                                         F.2d 2 (1st Cir. 1993) (no admission of
                                                                                                                             newspaper article where "[n]o affidavits
                                                                  24                                                         or depositions from the … reporters …
                                                                                                                             submitted to the court.");Cody v.
                                                                  25                                                         Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                  26                                                         (declining to admit newspaper article
                                                                                                                             where plaintiff failed to offer any
                                                                  27                                                         evidence related to the reporter, his
                                                                                                                             method of reporting, or other assurances
                                                                  28                                                         of trustworthiness); McAllister v. New

                                                                                                                     3
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                  Desc
                                                                                              Main Document    Page 4 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                    Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                         York City Police Dep't, 49 F. Supp. 2d
                                                                                                                             688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                   4                                                         articles are hearsay . . . and . . . are not
                                                                                                                             admissible evidence."); Holmes v.
                                                                   5                                                         Gaynor, 313 F. Supp. 2d 345, 358
                                                                                                                             (S.D.N.Y. 2004) (holding newspaper
                                                                   6                                                         article inadmissible on hearsay
                                                                   7                                                         grounds).

                                                                   8                                                         Relevance (FRE 402).
                                                                                                                             A 2017 article has no relevance
                                                                   9                                                         whatsoever to a Motion alleging a 2019
                                                                                                                             “bad faith” bankruptcy filing predicated
                                                                  10
                                                                                                                             on (i) the timing and impact of its filing
                                                                  11                                                         on a putative secured creditor’s 2019
                                                                                                                             judgment enforcement efforts, (ii)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                         reorganization purpose relating to
                                                                                                                             Faraday Future and (iii) the interests of
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                             the Debtor’s current creditors.
                                                                  14
                                                                                                                             Strike: Motion, 3:l.17- 4:l. 2.
                                                                  15
                                                                                                                             The Debtor respectfully requests that
                                                                  16                                                         the Court strike the identified portions
                                                                                                                             of the Motion that correspond to the
                                                                  17                                                         referenced inadmissible evidence.
                                                                  18
                                                                          ¶4       A true and correct copy of the July 6,    Objections:
                                                                  19               2017 article entitled “Exclusive:
                                                                                   Cash-Strapped LeEco Sees Assets           Hearsay (FRE 802).
                                                                  20               Frozen” is attached to this Declaration   SLC cites to this article as a source of
                                                                                   as Exhibit 3. This article was            certain alleged factual information
                                                                  21               published in TMT Post, a Chinese          regarding the Debtor. However,
                                                                  22               news outlet.                              statements in newspaper articles and
                                                                                                                             other publications are almost always
                                                                  23                                                         inadmissible hearsay. See, e.g., Larez v.
                                                                                                                             City of Los Angeles, 946 F.2d 630, 641
                                                                  24                                                         (9 Cir. 1991) (statements in three
                                                                                                                             newspapers erroneously admitted
                                                                  25                                                         hearsay; “As the reporters never
                                                                  26                                                         testified nor were subjected to cross-
                                                                                                                             examination, their transcriptions of
                                                                  27                                                         Gates's statements involve a serious
                                                                                                                             hearsay problem.”); Horta v. Sullivan, 4
                                                                  28                                                         F.2d 2 (1st Cir. 1993) (no admission of

                                                                                                                     4
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                   Desc
                                                                                              Main Document    Page 5 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                      Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                           newspaper article where "[n]o affidavits
                                                                                                                               or depositions from the … reporters …
                                                                   4                                                           submitted to the court.");Cody v.
                                                                                                                               Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                   5                                                           (declining to admit newspaper article
                                                                                                                               where plaintiff failed to offer any
                                                                   6                                                           evidence related to the reporter, his
                                                                   7                                                           method of reporting, or other assurances
                                                                                                                               of trustworthiness); McAllister v. New
                                                                   8                                                           York City Police Dep't, 49 F. Supp. 2d
                                                                                                                               688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                   9                                                           articles are hearsay . . . and . . . are not
                                                                                                                               admissible evidence."); Holmes v.
                                                                  10
                                                                                                                               Gaynor, 313 F. Supp. 2d 345, 358
                                                                  11                                                           (S.D.N.Y. 2004) (holding newspaper
                                                                                                                               article inadmissible on hearsay
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                           grounds).
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                               Relevance (FRE 402).
                                                                                                                               A 2017 article has no relevance
                                                                  14
                                                                                                                               whatsoever to a Motion alleging a 2019
                                                                  15                                                           “bad faith” bankruptcy filing predicated
                                                                                                                               on (i) the timing and impact of its filing
                                                                  16                                                           on a putative secured creditor’s 2019
                                                                                                                               judgment enforcement efforts, (ii)
                                                                  17                                                           reorganization purpose relating to
                                                                                                                               Faraday Future and (iii) the interests of
                                                                  18
                                                                                                                               the Debtor’s current creditors.
                                                                  19
                                                                                                                               Strike: Motion, 4, ll.7- 12.
                                                                  20
                                                                                                                               The Debtor respectfully requests that
                                                                  21                                                           the Court strike the identified portions
                                                                  22                                                           of the Motion that correspond to the
                                                                                                                               referenced inadmissible evidence.
                                                                  23      ¶5       A true and correct copy of the              Objections:
                                                                                   November 7, 2017 article by Danwei
                                                                  24               Wang entitled Lengjing’s Exclusive          Hearsay (FRE 802).
                                                                                   150-Minute Conversation with Jia            SLC cites to this article as a source of
                                                                  25               Yueting: What I’ve Been Thinking            certain alleged factual information
                                                                  26               About in My Four Months in the U.S.         regarding the Debtor. However,
                                                                                   (title translated from Chinese), together   statements in newspaper articles and
                                                                  27               with a certified English translation, is    other publications are almost always
                                                                                   attached to this Declaration as Exhibit     inadmissible hearsay. See, e.g., Larez v.
                                                                  28               4. This article was published in Tencent    City of Los Angeles, 946 F.2d 630, 641

                                                                                                                      5
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10             Desc
                                                                                              Main Document    Page 6 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3               News, a Chinese news outlet.          (9 Cir. 1991) (statements in three
                                                                                                                         newspapers erroneously admitted
                                                                   4                                                     hearsay; “As the reporters never
                                                                                                                         testified nor were subjected to cross-
                                                                   5                                                     examination, their transcriptions of
                                                                                                                         Gates's statements involve a serious
                                                                   6                                                     hearsay problem.”); Horta v. Sullivan, 4
                                                                   7                                                     F.2d 2 (1st Cir. 1993) (no admission of
                                                                                                                         newspaper article where "[n]o affidavits
                                                                   8                                                     or depositions from the … reporters …
                                                                                                                         submitted to the court.");Cody v.
                                                                   9                                                     Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                                                                         (declining to admit newspaper article
                                                                  10
                                                                                                                         where plaintiff failed to offer any
                                                                  11                                                     evidence related to the reporter, his
                                                                                                                         method of reporting, or other assurances
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                     of trustworthiness); McAllister v. New
                                                                                                                         York City Police Dep't, 49 F. Supp. 2d
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                         688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                                                                         articles are hearsay . . . and . . . are not
                                                                  14
                                                                                                                         admissible evidence."); Holmes v.
                                                                  15                                                     Gaynor, 313 F. Supp. 2d 345, 358
                                                                                                                         (S.D.N.Y. 2004) (holding newspaper
                                                                  16                                                     article inadmissible on hearsay
                                                                                                                         grounds).
                                                                  17

                                                                  18                                                     Relevance (FRE 402).
                                                                                                                         A 2017 article has no relevance
                                                                  19                                                     whatsoever to a Motion alleging a 2019
                                                                                                                         “bad faith” bankruptcy filing predicated
                                                                  20                                                     on (i) the timing and impact of its filing
                                                                                                                         on a putative secured creditor’s 2019
                                                                  21                                                     judgment enforcement efforts, (ii)
                                                                  22                                                     reorganization purpose relating to
                                                                                                                         Faraday Future and (iii) the interests of
                                                                  23                                                     the Debtor’s current creditors.

                                                                  24                                                     Strike: Motion, 4, ll.13 - 17.
                                                                  25                                                     The Debtor respectfully requests that
                                                                  26                                                     the Court strike the identified portions
                                                                                                                         of the Motion that correspond to the
                                                                  27                                                     referenced inadmissible evidence.

                                                                  28


                                                                                                                     6
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                Desc
                                                                                              Main Document    Page 7 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                   Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                         Authentication of Translation (Rule
                                                                                                                             901(a))
                                                                   4                                                         To satisfy the requirement of
                                                                                                                             authenticating a document, the
                                                                   5                                                         proponent “must produce evidence
                                                                                                                             sufficient to support a finding that the
                                                                   6                                                         item is what the proponent claims it is”.
                                                                   7                                                         FRE 901(a). At a minimum, the
                                                                                                                             translator should certify under oath his
                                                                   8                                                         or her qualifications to faithfully
                                                                                                                             translate a document and that the
                                                                   9                                                         proffered translation is true and
                                                                                                                             accurate.
                                                                  10

                                                                  11                                                         Here, although the translator states his
                                                                                                                             qualifications, and that he “translated”
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                         the subject document, he does not state,
                                                                                                                             let alone swear, that the translation is
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                             true and accurate. Therefore, the
                                                                                                                             proffered translation should not be
                                                                  14
                                                                                                                             admitted into evidence.
                                                                  15
                                                                          ¶6       A true and correct copy of the            Objections:
                                                                  16               December 25, 2017 Beijing Securities
                                                                                   Regulatory Bureau Announcement            Hearsay (FRE 802).
                                                                  17               Regarding Orders for Jia Yueting to       SLC seeks to utilize the statements in
                                                                  18               Return to China to Fulfill Obligations,   the announcement to prove the truth of
                                                                                   together with a certified English         the matters asserted, which constitutes
                                                                  19               translation, is attached to this          inadmissible hearsay.
                                                                                   Declaration as Exhibit 5.
                                                                  20                                                         Relevance (FRE 402).
                                                                                                                             A 2017 document has no relevance
                                                                  21                                                         whatsoever to a Motion alleging a 2019
                                                                  22                                                         “bad faith” bankruptcy filing predicated
                                                                                                                             on (i) the timing and impact of its filing
                                                                  23                                                         on a putative secured creditor’s 2019
                                                                                                                             judgment enforcement efforts, (ii)
                                                                  24                                                         reorganization purpose relating to
                                                                                                                             Faraday Future and (iii) the interests of
                                                                  25                                                         the Debtor’s current creditors.
                                                                  26
                                                                                                                             Strike: Motion, 4:l. 18 – 5:1l. 1; 19:ll.
                                                                  27                                                         10-13.
                                                                  28


                                                                                                                     7
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                 Desc
                                                                                              Main Document    Page 8 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                    Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                          The Debtor respectfully requests that
                                                                                                                              the Court strike the identified portions
                                                                   4                                                          of the Motion that correspond to the
                                                                                                                              referenced inadmissible evidence.
                                                                   5
                                                                                                                              Authentication of Translation (Rule
                                                                   6
                                                                                                                              901(a))
                                                                   7                                                          To satisfy the requirement of
                                                                                                                              authenticating a document, the
                                                                   8                                                          proponent “must produce evidence
                                                                                                                              sufficient to support a finding that the
                                                                   9                                                          item is what the proponent claims it is”.
                                                                                                                              FRE 901(a). At a minimum, the
                                                                  10
                                                                                                                              translator should certify under oath his
                                                                  11                                                          or her qualifications to faithfully
                                                                                                                              translate a document and that the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                          proffered translation is true and
                                                                                                                              accurate.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                              Here, although the translator states his
                                                                  14
                                                                                                                              qualifications, and that he “translated”
                                                                  15                                                          the subject document, he does not state,
                                                                                                                              let alone swear, that the translation is
                                                                  16                                                          true and accurate. Therefore, the
                                                                                                                              proffered translation should not be
                                                                  17                                                          admitted into evidence.
                                                                  18
                                                                          ¶7       A true and correct copy of the             Objections:
                                                                  19               October 30, 2019 article by Sean
                                                                                   O’Kane entitled “Faraday Cage: Can         Hearsay (FRE 802).
                                                                  20               an electric car startup save itself from   SLC cites to this article as a source of
                                                                                   its founder?” published in The Verge       certain alleged factual information
                                                                  21               is attached to this Declaration as         regarding the Debtor. However,
                                                                  22               Exhibit 6.                                 statements in newspaper articles and
                                                                                                                              other publications are almost always
                                                                  23                                                          inadmissible hearsay. See, e.g., Larez v.
                                                                                                                              City of Los Angeles, 946 F.2d 630, 641
                                                                  24                                                          (9 Cir. 1991) (statements in three
                                                                                                                              newspapers erroneously admitted
                                                                  25                                                          hearsay; “As the reporters never
                                                                  26                                                          testified nor were subjected to cross-
                                                                                                                              examination, their transcriptions of
                                                                  27                                                          Gates's statements involve a serious
                                                                                                                              hearsay problem.”); Horta v. Sullivan, 4
                                                                  28                                                          F.2d 2 (1st Cir. 1993) (no admission of

                                                                                                                      8
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                 Desc
                                                                                              Main Document    Page 9 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                   Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3                                                        newspaper article where "[n]o affidavits
                                                                                                                            or depositions from the … reporters …
                                                                   4                                                        submitted to the court.");Cody v.
                                                                                                                            Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                   5                                                        (declining to admit newspaper article
                                                                                                                            where plaintiff failed to offer any
                                                                   6                                                        evidence related to the reporter, his
                                                                   7                                                        method of reporting, or other assurances
                                                                                                                            of trustworthiness); McAllister v. New
                                                                   8                                                        York City Police Dep't, 49 F. Supp. 2d
                                                                                                                            688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                   9                                                        articles are hearsay . . . and . . . are not
                                                                                                                            admissible evidence."); Holmes v.
                                                                  10
                                                                                                                            Gaynor, 313 F. Supp. 2d 345, 358
                                                                  11                                                        (S.D.N.Y. 2004) (holding newspaper
                                                                                                                            article inadmissible on hearsay
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                        grounds).
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                            Relevance (FRE 402).
                                                                                                                            The statement regarding the Debtor’s
                                                                  14
                                                                                                                            visa status in support of which the
                                                                  15                                                        article is cited has no relevance
                                                                                                                            whatsoever to a Motion alleging a “bad
                                                                  16                                                        faith” bankruptcy filing predicated on
                                                                                                                            (i) the timing and impact of its filing on
                                                                  17                                                        a putative secured creditor’s judgment
                                                                                                                            enforcement efforts, (ii) reorganization
                                                                  18
                                                                                                                            purpose relating to Faraday Future and
                                                                  19                                                        (iii) the interests of the Debtor’s current
                                                                                                                            creditors.
                                                                  20
                                                                                                                            Strike: Motion, 5:ll. 4, 10-12.
                                                                  21

                                                                  22                                                        The Debtor respectfully requests that
                                                                                                                            the Court strike the identified portions
                                                                  23                                                        of the Motion that correspond to the
                                                                                                                            referenced inadmissible evidence.
                                                                  24      ¶11      A true and correct copy of the           Objections:
                                                                                   November 26, 2019 article entitled Jia
                                                                  25               Yueting’s Debt Project Team: Jia         Hearsay (FRE 802).
                                                                  26               Yueting May Return to China to Run       SLC cites to this article as a source of
                                                                                   FF Upon Approval of Restructuring        certain alleged factual information
                                                                  27               Plan (title translated from Chinese),    regarding the Debtor. However,
                                                                                   together with a certified English        statements in newspaper articles and
                                                                  28               translation, is attached to this         other publications are almost always

                                                                                                                     9
                                                                   Case 2:19-bk-24804-VZ     Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                 Desc
                                                                                              Main Document    Page 10 of 13


                                                                   1   Paragraph
                                                                                           Objectionable Statement                    Evidentiary Objection
                                                                        Number
                                                                   2

                                                                   3               Declaration as Exhibit 10. This article   inadmissible hearsay. See, e.g., Larez v.
                                                                                   was published in Sohu, a Chinese news     City of Los Angeles, 946 F.2d 630, 641
                                                                   4               outlet.                                   (9 Cir. 1991) (statements in three
                                                                                                                             newspapers erroneously admitted
                                                                   5                                                         hearsay; “As the reporters never
                                                                                                                             testified nor were subjected to cross-
                                                                   6                                                         examination, their transcriptions of
                                                                   7                                                         Gates's statements involve a serious
                                                                                                                             hearsay problem.”); Horta v. Sullivan, 4
                                                                   8                                                         F.2d 2 (1st Cir. 1993) (no admission of
                                                                                                                             newspaper article where "[n]o affidavits
                                                                   9                                                         or depositions from the … reporters …
                                                                                                                             submitted to the court.");Cody v.
                                                                  10
                                                                                                                             Harris, 409 F.3d 853 (7th Cir. 2005)
                                                                  11                                                         (declining to admit newspaper article
                                                                                                                             where plaintiff failed to offer any
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                         evidence related to the reporter, his
                                                                                                                             method of reporting, or other assurances
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                             of trustworthiness); McAllister v. New
                                                                                                                             York City Police Dep't, 49 F. Supp. 2d
                                                                  14
                                                                                                                             688, 705 (S.D.N.Y. 1999) ("Newspaper
                                                                  15                                                         articles are hearsay . . . and . . . are not
                                                                                                                             admissible evidence."); Holmes v.
                                                                  16                                                         Gaynor, 313 F. Supp. 2d 345, 358
                                                                                                                             (S.D.N.Y. 2004) (holding newspaper
                                                                  17                                                         article inadmissible on hearsay
                                                                                                                             grounds).
                                                                  18

                                                                  19
                                                                                                                             Strike: Motion, 19:ll. 13-16.
                                                                  20
                                                                                                                             The Debtor respectfully requests that
                                                                  21                                                         the Court strike the identified portions
                                                                  22                                                         of the Motion that correspond to the
                                                                                                                             referenced inadmissible evidence.
                                                                  23

                                                                  24                                                         Authentication of Translation (Rule
                                                                                                                             901(a))
                                                                  25                                                         To satisfy the requirement of
                                                                  26                                                         authenticating a document, the
                                                                                                                             proponent “must produce evidence
                                                                  27                                                         sufficient to support a finding that the
                                                                                                                             item is what the proponent claims it is”.
                                                                  28                                                         FRE 901(a). At a minimum, the

                                                                                                                     10
                                                                   Case 2:19-bk-24804-VZ        Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10               Desc
                                                                                                 Main Document    Page 11 of 13


                                                                   1    Paragraph
                                                                                           Objectionable Statement                    Evidentiary Objection
                                                                         Number
                                                                   2

                                                                   3                                                          translator should certify under oath his
                                                                                                                              or her qualifications to faithfully
                                                                   4                                                          translate a document and that the
                                                                                                                              proffered translation is true and
                                                                   5                                                          accurate.
                                                                   6                                                          Here the translator does not set forth his
                                                                   7                                                          qualifications to translate the proffered
                                                                                                                              document and cryptically states only
                                                                   8                                                          that the “document is, to the best of my
                                                                                                                              knowledge and belief and within the
                                                                   9                                                          given parameters, a true and accurate
                                                                                                                              translation from Chinese (Simplified to
                                                                  10
                                                                                                                              English).” The attempted
                                                                  11                                                          authentication is therefore lacking and
                                                                                                                              the proffered translation should not be
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                          admitted into evidence.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Dated:   March 3, 2020                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                  14

                                                                  15                                           By         /s/ Malhar S. Pagay
                                                                                                                          Richard M. Pachulski
                                                                  16                                                      Jeffrey W. Dulberg
                                                                                                                          Malhar S. Pagay
                                                                  17
                                                                                                                          Attorneys for Debtor and Debtor in
                                                                  18                                                      Possession
                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                                                                     11
            Case 2:19-bk-24804-VZ                 Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                                       Desc
                                                   Main Document    Page 12 of 13

                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): EVIDENTIARY OBJECTIONS AND MOTION TO
 STRIKE RE: DECLARATION OF DONG NI (DONNA) XU IN SUPPORT OF MOTION BY CREDITOR SHANGHAI LAN
 CAI ASSET MANAGEMENT CO., LTD. TO DISMISS THE DEBTOR’S CHAPTER 11 CASE will be served or was served
 (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 3, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  United States Bankruptcy Court
  Central District of California
  Attn: Hon. Vincent Zurzolo
  Edward R. Roybal Federal Bldg./Courthouse
  255 East Temple Street, Suite 1360
  Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 3, 2020                Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 415 Filed 03/03/20 Entered 03/03/20 18:35:10                                       Desc
                                              Main Document    Page 13 of 13


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
        David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
DOCS_LA:327335.1 46353/002
